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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF LOUISIANA

   IN RE:                                                              CASE NO: 21-10940

   BOUDREAUX, DWAYNE LEONARD SR.                                       CHAPTER 7
   BOUDREAUX, TERRY LYNN
                                                                       SECTION A
   DEBTOR(S)

              ORDER APPROVING TRUSTEE’S FINAL REPORT AND ACCOUNT

            This matter was to come before the court on February 16, 2022, as a hearing on approval

   of the Trustee’s Final Report and Account of Administration of Estate, Report of Receipts and

   Disbursements, Application for Compensation and Reimbursement of Expenses and Proposed

   Distribution [ECF No. 39, 40] filed herein.

            Proper notice having been given to all creditors and parties in interest and no timely

   objections having been filed and considering that the report has been reviewed by the U.S. Trustee,

            IT IS ORDERED that the Trustee’s Final Report and Account of Administration of Estate,

   Report of Receipts and Disbursements, Application for Compensation and Reimbursement of

   Expenses, and Propose Distribution is APPROVED and that the funds be distributed in accordance

   therewith.

            IT IS FURTHER ORDERED that movant shall serve a copy of this Order on the

   required parties who will not receive notice through the ECF System pursuant to the Federal

   Rules of Bankruptcy Procedure and the Local Bankruptcy Rules and file a certificate of service

   to that effect within three (3) days.

                   New Orleans, Louisiana, February 25, 2022.



                                                 ____________________________________
                                                        MEREDITH S. GRABILL
                                                 UNITED STATES BANKRUPTCY JUDGE
